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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Ref. No. 1350


                              NOTICE OF REVISED PROPOSED ORDER

                PLEASE TAKE NOTICE that on April 25, 2023, FTX Trading Ltd. and its
affiliated debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry
of an Order (A) Authorizing the Debtors to File Certain Disclosure Schedules to the Interest
Purchase Agreement Between Ledger Holdings Inc., M 7 Holdings, LLC and Miami International
Holdings, Inc. Under Seal and (B) Granting Related Relief [D.I. 1350] (the “Motion to Seal”) in
the United States Bankruptcy Court for the District of Delaware (the “Court”).

               PLEASE TAKE FURTHER NOTICE that the Debtors have revised the proposed
form of order attached to the Motion to Seal (the “Revised Sealing Order”), a copy of which is
attached hereto as Exhibit A. A copy of the Revised Sealing Order compared against the proposed
form of order attached to the Motion to Seal is attached hereto as Exhibit B.

                 PLEASE TAKE FURTHER NOTICE that copies of the above referenced
filings may be obtained from the Court’s website, https://ecf.deb.uscourts.gov/, for a nominal
fee, or obtained free of charge by accessing the website of the Debtors’ claims and noticing agent
at https://restructuring.ra.kroll.com/FTX/.




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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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